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 DOWD, J.

                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

 United States of America                         )
                                                  )     CASE NO. 1:04CR00362-001
                Plaintiff(s),                     )
                                                  )
        v.                                        )     ORDER
                                                  )
 Tevaughn E. Darling                              )
                                                  )
                Defendant(s).                     )
                                                  )



        The defendant and his counsel, Ralph DeFranco appeared before this Court on

 November 15, 2010. A report and recommendation was filed on June 30, 2010. (See docket

 #55). The Court adopts the report and recommendation of Magistrate Judge James S. Gallas and

 finds the defendant in violation of his terms and conditions of supervised release.

        IT IS ORDERED that the defendant’s supervision is revoked and defendant be

 committed to the custody of the Bureau of Prisons for a period of thirty (30) days.   Upon

 release from confinement the term of supervised release is terminated.

        IT IS FURTHER ORDERED that the defendant self surrender to the U.S. Marshal in

 Cleveland, Ohio prior to 12:00 noon on November 22, 2010, to commence serving his sentence.




  November 16, 2010                             /s/ David D. Dowd, Jr.
 Date                                         David D. Dowd, Jr.
                                              U.S. District Judge
